                                    TRANSCRIPT ORDER FORM ‐ DIRECTIONS ON THE REVERSE SIDE
 PART I ‐ To be completed by appellant within fourteen days of filing the notice of appeal.

  Short Title: Stecklein & Rapp Chartered v. Experian Information Solutions, Inc.           District Court Number: 4:23-mc-09003
  District: Western District of Missouri                                                    Circuit Court Number: 23-1879
  Name of Attorney/Pro Se Party: Eddie James                                                Email Address: ejames@jamessobba.com
    Name of Law Firm/Office: James Sobba, LLC                                              Telephone: 816-623-0544
      Address : 4435 Main Street, Suite 910
    Attorney for: Experian Information Solutions, Inc.
 Name of Court Reporter: Jean Crawford
 Name of Court Reporter (if ordering from more than one):

 PART II ‐ Complete SECTION A (if not ordering a transcript) or SECTION B (if ordering transcript(s)).

 SECTION A ‐ I HAVE NOT ORDERED A TRANSCRIPT BECAUSE
                            A transcript is not necessary for this appeal;
                            The necessary transcript is already on file in District Court; or
                            The necessary transcript was ordered previously in appeal
                             number

 SECTION B ‐ I HEREBY ORDER THE FOLLOWING TRANSCRIPT(S):
                     (Specify the date and proceeding in the space below)

 Voir dire:                                                                         Opening Statements:
 Trial proceedings:                                                                 Closing Arguments:
 Jury Instructions:                                                                 Other Proceedings: Discovery Hearing Held On 4/5/2023
 Post‐Trial Hearings:                                                               Other Proceedings:
                              (Attach additional pages if necessary)

                               I will pay the cost of the transcript. My signature on this form is my agreement to pay for the transcript
                               ordered on this form.

                           This case is proceeding under the Criminal Justice Act.
                           IF THIS APPEAL IS PROCEEDING UNDER THE CJA PLEASE NOTE YOU MUST ALSO TAKE ALL STEPS
                       REQUIRED IN EVOUCHER IN ORDER TO COMPLETE PAYMENT ARRANGEMENTS.

         NOTE: Leave to proceed in forma pauperis does not entitle appellant to a free transcript. An order of the district court
         allowing payment for the transcript at government expense must be obtained. See 28 U.S.C. §753(f).

                                                      CERTIFICATE OF COMPLIANCE
 I certify that I have read the instructions on the reverse of this form and that copies of this transcript order form have been served
 on the court reporter (if transcript ordered), the Clerk of U.S. District Court, all counsel of record or pro se parties, and the
 Clerk of the U.S. Court of Appeals for the Tenth Circuit. I further certify that satisfactory arrangements for payment for any
 transcript ordered have been made with the court reporter(s).

 Signature of Attorney/Ordering Party: G. Edgar James                                                                    Date: 5/8/2023


 PART III ‐ To be completed by the court reporter after satisfactory financial arrangements have been made.

        Upon completion, please file one copy with the Clerk of the U.S. Court of Appeals and one copy with the Clerk of the U.S.
 District Court.

 Date arrangements for payment completed:
 Estimated completion date:
 Estimated number of pages:
 I certify that I have read the instructions on the reverse side and that adequate arrangements for payment have been made.

 Signature of Court Reporter:                                                           Date:


                     Appellate
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                                        DIRECTIONS FOR USING THIS FORM

This form requires multiple distribution, service and filing. The responsibilities of each party and the
court reporter are described below.

1. APPELLANT
Whether or not a transcript is ordered, appellant or his counsel must complete Part I and Part II of
this form. Upon completion, appellant must serve a copy on:
            a. the Court Reporter (if a transcript is ordered),
            b. all parties,
            c. the Clerk of the U.S. District Court, and
            d. the Clerk of the U.S. court of Appeals.

If a transcript is ordered, the appellant must obtain execution of this form by the court reporter(s) who
recorded the proceedings. Within the 14‐day period allowed for ordering the transcript under Fed. R.
App. P. 10(b)(1), appellant must make adequate arrangements for payment for the transcript. The
Court Reporter may require a deposit equal to the full estimated cost of the transcript. See 28
U.S.C. §753(f).

Unless the entire transcript is ordered, appellant shall serve on appellee(s) a statement of the issues he
intends to present on appeal. See Fed. R. App. P. 10(b)(3). The Docketing Statement required by 10th
Cir. R. 3.4 fulfills this requirement.

Those portions of the transcripts that are filed that are pertinent to the appeal must be included in
appellant's appendix or, in cases where counsel is appointed, designated for inclusion in the record on
appeal. See 10th Cir. R. 10.2.2, 10.3.2(d) and 30.1.1.

2. APPELLEE
Unless the entire transcript is ordered, appellee may, within 28 days of filing of the notice of appeal, file
and serve on appellant a designation of additional transcript to be included. If, within 14 days, appellant
does not order and pay for the transcript so designated, appellee may, within a further 14 days, order
and pay for the transcript or move in the district court for an order compelling appellant to do so. See
Fed. R. App. P. 10(b)(3).

3. COURT REPORTER
After receipt of this form and after satisfactory financial arrangements have been made, the court
reporter shall complete Part III of this form and certify the date the transcript was ordered and estimate
the date it will be completed. The estimated completion date must comply with the Tenth Circuit
Judicial Council's mandated district court Court Reporter Management Plans. Transcripts in a criminal
case (includes 28 U.S.C. §§2241, 2254, 2255) shall be filed within 30 days of the date arrangements for
payment are made. Transcripts in a civil case shall be filed within 60 days of the date arrangements for
payment are made. Court Reporters are subject to a mandatory fee reduction if transcripts are not
timely filed. See Appellate Transcript Management Plan for the Tenth Circuit, 10th Cir. R., App. B.

The completed form must be served on:
           a. the Clerk of the District Court and
           b. the Clerk of the Court of Appeals.




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